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                         EXHIBIT A
        Case 2:18-cv-10005-RGK-MAA Document 24-2 Filed 03/25/19 Page 2 of 37 Page ID #:442




                     1   MATERN LAW GROUP, PC
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                     I
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                 l3
                         Attorneys for Defendant
                 14      IHG M,A.NAGEMENT (MARYLAND) LLC
                 15
                                                         UNITED STATES DISTRICT COURT
                 t6
                                                       CENTRAL DISTRICT OF CALIFORNIA
                 l7
                 t8      ESTELA CERVANTES, individually                            Case   No. 2:18-cv-10005-RGK-MAA
                         and on behalf of all others similarly
                 t9      situated,
                                                                                   STIPULATION OF CLASS
                20                       Plaintifl                                 ACTION SBTTLEMENT
                2t                       VS

                22       IHG MANAGEMENT (MARYLAND)
                         LLC. a Marvland limiteit liabilitv
                23       goryÉqny; añd           ooBs I through         50,
                         lncluslve,
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                                         Defendants.
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   '1230 ROSECRANS                                                                               SI'IPULATION OF CLASS ACTION
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                   I            IT IS HEREBY STIPULATED. by and befween plaintiff Estela Cervantes,
                   2     individually and on behalf of all others similarly situated, on the one hand, and
                   a
                   J     defendant IHG Management (Maryland) LLC, on the other hand, and subject to the

                   4     approval of the Court, that the Action is hereby compromised and settled pursuant

                   5     to the terms and conditions set forth in this Stipulation of Class Action Settlement

                   6     ("Stipulation") and that the Court shall make and enter judgment, subject to the

                   7     continuing jurisdiction of the Court as set forth below, and subject to the

                   8     definitions, recitals, and terms set forth herein which by this reference become an

                   9     integral part of this Stipulation.

                 l0                                           DEFINITIONS
                 11             1.     "Action" means the class action entitled Estela Cervantes v. IHG
                 l2      Management (Maryland) LLC, United States District Court, Central District          of
                 13      California, Case No. 2: I 8-cv-10005-RGK-MAA.

                 t4            2.      "CAFA Notice" means the notice that shall be served on the
                 15      "Appropriate Federal official" and the'Appropriate State official" by the

                 t6      Settlement Administrator pursuant to and as defined under the Class Action

                 17      Fairness Act of 2005   ("CAFA"). V/ithin     ten (10) days after Plaintiff files the

                 t8      motion for preliminary approval, the Settlement Administrator shall serve the

                 19      CAFA Notice.
                20             3.     "Class Counsel" means Matthew J. Matern, Launa Adolph, and

                21       Kayvon Sabourian of Matern Law Group, PC.

                22             4.     "Class Counsel Award" means reasonable attorneys' fees for Class

                23       Counsel's litigation and resolution of the Action and Class Counsel's expenses and

                24       costs reasonably incurred in connection with the Action.

                25             5.     "Class Information" means information regarding Class Members that

                26       Defendant shall in good faith compile from its records and shall transmit in

                27       electronic form to the Settlement Administrator and shall include each Class

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                   1     Member's full name; last known address; Social Security number; and
                   2     Compensable'Workweeks.
                   a
                   J            6.    "Class Members" means all persons employed by Defendant as non-

                   4     exempt employees at the Crowne Plaza Redondo Beach and Marina hotel in

                   5     Redondo Beach, California, at any time during the Class Period.

                   6            7.    "Class Notice" means the Notice of Class Action Settlement,

                   7     substantially in the form attached as Exhibit    I, which   shall be subject to Court

                   8     approval and which the Settlement Administrator shall mail to each Class Member

                   9     explaining the terms of this Stipulation and the Settlement.

                 10             8.    "Class Period" means the period from September 28,2014 through the

                 1l      earlier of May 27,2019 or the date of entry of the Preliminary Approval Order.

                 t2            9.     "Class Representative Service Award" means the amount that the

                 13      Court authorizes to be paid to Plaintiff, in addition to Plaintiff's Individual

                 l4      Settlement Payment, in recognition of Plaintiff s efforts and risks in assisting with

                 15      the prosecution of the Action.

                 16             10.   "Compensable'Workweeks" means the approximate total number of

                 l7      weeks during which a Class Member worked for Defendant at the CrownePlaza

                 18      Redondo Beach and Marina hotel as a non-exempt employee during the Class

                 19      Period based on Defendant' records and which shall be used to calculate Individual

                 20      Settlement Payments.

                 2t             11.   "Defendant" means Defendant IHG Management (Maryland) LLC.

                 22             12.   "Defense Counsel" means Michael J. Burns and Eric Hill of Seyfarth

                 23      Shaw LLP.

                 24             13.   "Effective Date" means (a) if there are no objections to the Settlement,
                25       the date of entry of the Judgment; (b) if there are objections to the Settlement, and          if
                26       an appeal, review or   writ is not sought from the Judgment, the date which is thirty
                27       (30) days after entry of the Judgment; or (c)   if an appeal, review or writ is sought
                28       from the Judgment, the date upon which all appellate and/or other proceedings
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                    I    resulting from the appeal, review or writ have been finally terminated in such     a

                   2     manner as to permit the Judgment to take effect in substantially the form described
                   a     herein.
                   J

                   4               14.   "Employer's Share of Payroll Taxes" means Defendant's portion of
                   5     payroll taxes, including, but not limited to FICA and FUTA, on the portion of the

                   6     Individual Settlement Payments that constitutes wages. The Employer's Share of
                   7     Payroll Taxes shall be submitted by Defendant to the Settlement Administrator in

                   8     addition to the Maximum Settlement Amount.

                   9               15.   "Final Approval Hearing" means the hearing to be conducted by the
                 l0      Court after the filing by Plaintiff of an appropriate motion and following

                 ll      appropriate notice to Class Members giving Class Members an opportunity to

                 12      object to or opt out of the Settlement, at which time Plaintiff shall request that the

                 t3      Court finally approve the Settlement, enter the Judgment, and take other appropriate

                 14      action.

                 15                16.   "Individual Settlement Payment" means the amount payable from the
                 t6      Net Settlement Amount to each Class Member.
                 17                17.   "Information Sheet" means the form that shall be prepared by the
                 18      Settlement Administrator and sent to each Class Member that sets forth the total

                 t9      number of Compensable Workweeks and the estimated Individual Settlement

                 20      Payment for the Class Member, substantially in the form attached as Exhibit 2.

                 2t                18.   "Judgment" means the judgment to be entered by the Court upon

                 22      granting final approval of the Settlement and this Stipulation as binding upon the

                 z)      Parties and Class Members.

                 24                19.   "L'WDA" means the California Labor and Workforce Development
                 25      Agency.

                 26            20.       "Maximum Settlement Amount" means the maximum amount
                 27      Defendant shall have to pay in connection with this Settlement, by way of     a

                 28      common fund, which shall be inclusive of all Individual Settlement Payments to
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                      I     Class Members, Class Counsel Award, Class Representative Service Award,

                      2     Settlement Administration Costs and the PAGA payment to the              LWDA.      Subject to
                      a     Court approval and the terms of this Stipulation, the Maximum Settlement Amount
                      J

                      4     Defendant shall be required to pay is Five Hundred Ten Thousand Dollars

                      5     ($51o,ooo.oo).

                      6               21.   "Net Settlement Amount" means the Maximum Settlement Amount,
                      7     less Class Counsel Award, Class Representative Service Award, Settlement

                      8     Administration Costs, and the PAGA payment to the LWDA.

                      9               22.   'Notice of Objection" means       a Class Member's written objection to

                    10      the Settlement.

                    1l                23.   "Notice Packet" means the packet of documents which shall be mailed

                    12      and emailed to all Class Members by the Settlement Administrator, including the

                    t3      Class Notice and Information Sheet, each in English and Spanish.

                    l4                24.   "PAGA" means the Labor Code Private Attorneys General Act of
                    15      2004, California Labor Code sections 2698, et seq.

                    t6                25.   "Parties" means Plaintiff and Defendant.

                    17                26.   "Plaintiff'   means plaintiffEstela Cervantes.

                    18                21.   "Preliminary Approval Order" means the order to be issued by the

                   19       Court approving and authorizing the mailing of the Notice Packet by the Settlement

                   20       Administrator, setting the date of the Final Approval Hearing and granting

                   2t       preliminary approval of the Settlement set forth in this Stipulation, among other

                   22       things.

                   23                 28.   "Released Claims" with respect to the Participating Class Members

                   24       (other than Plaintiff) means any and all claims, debts, demands, rights, liabilities,

                   25       costs, damages, attorneys' fees, actions, and/or causes of action that were pleaded

                   26       or could have been pleaded based upon the factual allegations set forth in the

                   27       operative Complaint filed in this Action and arising at any time during the Class

                   28       Period, including any and all claims for (1) failure to provide meal periods; (2)
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                      1     failure to authorize and permit rest periods; (3) failure to pay minimum wages; (4)

                      2     failure to pay overtime wages; (5) failure to pay all wages due to discharged and
                      a
                      J     quitting employees; (6) failure to maintain required records; (7) failure to furnish

                     4      accurate itemized wage statements; (8) failure to indemnify employees for

                      5     necessary expenditures incurred in discharge of duties; (9) unfair and unlawful

                      6     business practices under the California Business   & Professions Code (including
                     7      Section 17200, et seq.); and (10) penalties pursuant to PAGA, and any claims for

                      8     other equitable relief, liquidated damages, punitive damages, or penalties.

                     9             29.   "Released Claims" with respect to Plaintiff only means any and all

                    10      claims, debts, demands, rights, liabilities, costs, damages, attorneys' fees, actions,

                    l1      and/or causes, of any form whatsoever, arising from or related to her employment

                    12      with Defendant ("General Release"), including, but not limited to, claims arising
                    t3      under the California Labor Code, California Business and Professions Code, the

                    t4      Industrial Welfare Commission Wage Orders, and PAGA. This General Release

                   15       includes any unknown claims that Plaintiff does not know or suspect to exist in her

                   t6       favor at the time of this General Release, which, if known by her, might have

                   t7       affected her settlement with, and release of, the Released Parties, or might have

                   l8       affected her decision not to object to this Settlement and General Release. With

                   t9       respect to this General Release, Plaintiff stipulates and agrees that, upon the

                   20       Effective Date, Plaintiff shall be deemed to have, and by operation of the final

                   2t       judgment in this Action shall have, expressly waived and relinquished, to the fullest

                   22       extent permitted by law, the provisions, rights and benefits of Section 1542 of the

                   z5       California Civil Code (or any other similar provision under federal or state law)

                   24       which provides:

                   25
                                         A general release does not extend to claims that the
                   26
                                         creditor or releasing party does not know or suspect to
                   27                    exist in his or her favor at the time of executing the
                                         release, and that, if known by him or her, would have
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                                         materially affected his or her settlement with the
                       1
                                         debtor or releasing party.
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                                   30.    "Released Parties" means (i) Defendant;           (ii) its past, present   and

                            future subsidiaries, parents, affiliated and related companies, divisions, successors,
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                       5
                            predecessors or assigns, and    (iii) its past, present,   and future officers, directors,

                            shareholders, partners, agents, insurers, employee, advisors, accountants,
                       6
                            representatives, trustees, heirs, executors, administrators, predecessors, successors
                       7
                            or assigns of any of the foregoing.
                       8

                       9
                                  31.    "Request for Exclusion" means a written request by a Class Member to
                            opt out of, or exclude oneself from, the Settlement.
                  10

                  1l              32.    "Response Deadline" means the date sixty (60) days after the

                            Settlement Administrator mails the Notice Packets to Class Members and the last
                  l2
                            date on which Class Members may submit a Notice of Objection or Request for
                  13
                            Exclusion.
                  l4
                  l5              33.    "Settlement" means the final and complete disposition of the Action
                            pursuant to this Stipulation.
                  16

                  l7              34.    "Settlement Administration Costs" means the reasonable costs and
                            fees of administration of this Settlement, including, but not limited to: (i) translating
                  18

                  t9        Notice Packets into Spanish; (ii) printing, mailing and re-mailing (if necessary) and
                            emailing Notice Packets to Class Members; (iii) preparing and submitting to Class
                  20
                            Members and government entities all appropriate tax filings and forms; (iv)
                  2I
                            preparing, with the assistance of Defense Counsel, and serving the CAFA Notice;
                  22
                            (v) computing the amount of and distributing Individual Settlement Payments,
                  23
                            Class Representative Service Award, Class Counsel Award, and the PAGA
                  24
                            payment to the LWDA; (vi) processing and validating Requests for Exclusion and
                  25
                            Notices of Objection; (vii) establishing a Qualified Settlement Fund, as defined by
                  26

                 27
                            the Internal Revenue Code; and     (viii) calculating      and remitting to the appropriate

                            government agencies all employer and employee payroll tax obligations arising
                 28
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                              I   from the Settlement and preparing and submitting filings required by law in

                              2   connection with the payments required by the Settlement.
                              a
                              J          35.      "Settlement Administrator" means Rust Consulting,Inc. or any other

                              4   third-party class action settlement administrator agreed to by the Parties and

                              5   approved by the Court for purposes of administering this Settlement.

                              6                                           RECITALS
                              7          36.      Procedural History. On September 28,2018, Plaintiff fìled a putative

                              8   wage and hour class action complaint against Defendant in Los Angeles Superior

                              9   Court, alleging the following causes of action:    (l) failure to provide   meal periods;

                          l0      (2) failure to authorize and permit rest periods; (3) failure to pay minimum wages;

                          1l      (4) failure to pay overtime wages; (5) failure to pay all wages due to discharged and

                          t2      quitting employees; (6) failure to maintain required records; (7) failure to furnish

                          13      accurate itemized wage statements; (8) failure to indemnify employees for

                          t4      necessary expenditures incurred in discharge of duties; (9) unfair and unlawful

                          15      business practices; and (10) penalties under    PAGA. On November 29,2078,
                          t6      Defendant answered the complaint. On November 29,2018, Defendant removed

                          17      this case to the United States District Court, Central District of California, under

                          18      CAFA.

                          19             37   .   Settlement Negotiations. On February I 5,2019, the Parties attended            a

                         20       mediation with mediator Lisa Klerman, Esq. The Parties did not reach a resolution

                         2t       atthat time but continued to engage in settlement discussions with the assistance of

                         22       Ms. Klerman. On March 12,2019, Ms. Klerman made a mediator's proposal which

                         23       set forth the material terms of a proposed class action settlement. On March 13,

                         24       2079, the Parties accepted the mediator's proposal, subject to the Parties entering

                         25       into a more comprehensive written settlement agreement.

                         26             38.       Benefits of Settlement to Plaintiff and Class Members. Plaintiff and

                         27       Class Counsel recognize the expense and length of continued proceedings

                         28       necessary to litigate   Plaintiff s disputes in the Action through trial and through any
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                        I    possible appeals. Plaintiff also has taken into account the uncertainty and risks       of
                        2    the outcome of further litigation, and the difficulties and delays inherent in such

                        J    litigation. Plaintiff and Class Counsel also are aware of the burdens of proof
                        4    necessary to establish   liability for the claims asserted in the Action, both generally
                        5    and in response to Defendant's defenses thereto, and the difficulties in establishing

                        6    damages, penalties, restitution and other relief sought in the   Action. Plaintiff and
                        7    Class Counsel also have taken into account Defendant's agreement to enter into a

                        8    settlementthat confers substantial benefits upon the Class Members. Based on the

                        9    foregoing, Plaintiff and Class Counsel have determined that the Settlement set forth

                     10      in this Stipulation is fair, adequate, and reasonable and is in the best interests of all

                     11      Class Members.

                     l2             39.    Defendant's Reasons for Settlement. Defendant has concluded that

                     t3      any further defense of the Action would be protracted and expensive for all Parties.

                     t4      Substantial amounts of Defendant's time, energy, and resources have been, and

                     15      unless this Settlement is completed, shall continue to be, devoted to the defense       of
                    16       the claims asserted by   Plaintiff. Defendant also has taken into account the risks of
                    l7       further litigation in reaching its decision to enter into this Settlement. Even though

                    18       Defendant contends it is not liable for any of the claims alleged by Plaintiff in the

                    t9       Action, Defendant has agreed, nonetheless, to settle in the manner and upon the
                    20       terms set forth in this Stipulation and to put to rest the claims alleged in the Action.

                    21       Defendant has asserted and continues to assert that the claims alleged by Plaintiff

                    22       have no merit and do not give rise to any liability, damages, restitution, penalties or

                    23       other payments. This Stipulation is a compromise of disputed claims. Nothing

                    24       contained in this Stipulation, no documents referred to herein, and no action taken

                    25       to carry out this Stipulation, shall be construed or used as an admission by or

                    26       against Defendant as to the merits or lack thereof of the claims asserted in the

                    27       Action. Defendant contends it has complied with all applicable state, federal        and

                    28       local laws.
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                      1                                  TERMS OF SETTLEMENT
                      2              NOW THEREFORE, in consideration of the mutual covenants, promises,
                      a     and agreements set forth herein, the Parties agree, subject to the Court's approval,
                      J

                      4     as follows:

                      5              40.   Bindine Settlement. This Settlement shall bind the Parties and all
                      6     Class Members, subject to the terms and conditions hereof and the Court's

                      7     approval.

                      8              41.   Administration of Taxes bv the Settlement Administrator. The

                     9      Settlement Administrator    will   be responsible for issuing to   Plaintiff   Class

                    10      Members, and Class Counsel any W-2,1099, or other tax forms as may be required

                    1l      by law for all amounts paid pursuant to this Agreement. The Settlement

                    t2      Administrator will also be responsible for forwarding all payroll taxes and penalties

                    13      to the appropriate government authorities.

                    14               42.   Tax Liabiliqv. The Parties make no representations as to the tax

                    15      treatment or legal effect of the payments specified herein, and Class Members are

                    T6      not relying on any statement or representation by the Parties, Class Counsel or

                    I7      Defense Counsel in this regard. Class Members and Class Counsel understand and

                    18      agree that they shall be responsible for the payment of all taxes and penalties

                    t9      assessed on the payments specified herein, and shall hold the Parties, Class Counsel

                   20       and Defense Counsel free and harmless from and against any claims resulting from

                   2t       treatment of such payments as non-taxable, including the treatment of such

                   22       payments as not subject to withholding or deduction for payroll and employment

                   23       taxes.

                   24                43.   Circular 230 Disclaimer. The Parties acknowledge and agree that

                   25       (l) no provision of this Stipulation, and no written communication         or disclosure

                   26       between or among the Parties, Class Counsel or Defense Counsel and other

                   27       advisers, is or was intended to be, nor shall any such communication or disclosure

                   28       constitute or be construed or be relied upon as, tax advice within the meaning           of
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                        I    United States Treasury Department Circular 230 (31 CFR Part 10, as amended);
                        2    (2) the acknowledging parly (a) has relied exclusively upon his, her, or its own,
                        a
                        J    independent legal and tax counsel for advice (including tax advice) in connection

                        4    with this Stipulation, (b) has not entered into this Stipulation based upon the
                        5    recommendation of any other party or any attorney or advisor to any other party,

                        6    and (c) is not entitled to rely upon any communication or disclosure by any attorney

                        7    or adviser to any other pafty to avoid any tax penalty that may be imposed on the

                        8    acknowledging pafty; and (3) no attorney or adviser to any other pafty has imposed

                        9    any limitation that protects the confidentiality of any such attorney's or adviser's

                    10       tax strategies (regardless of whether such limitation is legally binding) upon

                    1l       disclosure by the acknowledging party of the tax treatment or tax structure of any

                    t2       transaction, including any transaction contemplated by this Stipulation.

                    t3              44.      Preliminary Approval of Settlement. Within fourteen (14) days of full
                    t4       execution of the Stipulation, Plaintiff shall move the Court to enter the Preliminary

                    15       Approval Order, including       a   preliminary determination by the Court     as   to the
                    16       Settlement's fairness, adequacy, and reasonableness. The Parties agree to work

                    17       diligently and cooperatively to have this Settlement presented to the Court for
                    18       preliminary approval. Class Counsel shall be responsible for drafting and filing the

                    19       Motion for Preliminary Approval, and agrees to submit a draft of the Motion to
                   20        Defense Counsel for review and input prior to        filing.   The Motion for Preliminary

                   21        Approval shall ask the Court to issue a Preliminary Approval Order which, among

                   22        other things,   (l)   approves, as to form and content, the Class Notice; (2) approves

                   23        the manner and method for Class Members to object to and request exclusion from

                   24        the Settlement as specified herein and in the Class Notice; (3) directs the mailing of

                   25        the Notice Packets to the Class Members as specified herein; (4) preliminarily

                   26        approves the Settlement; and (5) schedules a Final Approval Hearing.

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                             I          45.   Release by Class Members. Upon the Effective Date, Plaintiff and

                             2   Class Members     will be deemed to have released their respective Released Claims
                             a   against the Released Parties.
                             J

                             4          46.   SettlementAdministration.

                             5                a.      Within fourteen (14) days of entry of the Preliminary Approval
                             6   Order, Defendant shall provide the Settlement Administrator with the Class

                             7   Information for purposes of mailing the Notice Packets to Class Members.

                             8                        i.    Notice by First Class U.S. Mail. Upon receipt of the Class

                             9   Information, the Settlement Administrator shall perform    a search based on the

                        l0       National Change of Address Database maintained by the United States Postal

                        l1       Service to update and correct any known or identifiable address changes. Within

                        12       fourteen (14) days after receiving the Class Information from Defendant      as

                        13       provided herein, the Settlement Administrator shall mail copies of the Notice

                        t4       Packet in the Mailing Envelope to all Class Members via regular First Class U.S.

                        15       Mail. The Settlement Administrator shall exercise its best judgment to determine
                        t6       the current mailing address for each Class Member. The address identified by the

                        t7       Settlement Administrator as the current mailing address shall be presumed to be the

                        18       most current mailing address for each Class Member. The Parties agree that this

                        t9       procedure for notice provides the best notice practicable to Class Members and

                        20       fully complies with due process.
                        21                            ii.    Undeliverable Notice Packets Any Notice Packet

                        22       returned to the Settlement Administrator as non-delivered on or before the

                        23       Response Deadline shall be re-mailed to the forwarding address affixed thereto.       If
                        24       no forwarding address is provided, the Settlement Administrator shall promptly

                        25       attempt to determine a correct address by the use of skip-tracing, or other type    of
                       26        automated search, using the name, address andlor Social Security number of the

                       27        Class Member involved, and shall then perform a re-mailing to the Class Member

                       28        whose Notice Packet was returned as non-delivered, assuming another mailing
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                      I   address is identified by the Settlement Administrator. Class Members who are sent

                      2   a re-mailed Notice Packet shall have their Response Deadline extended by ten (10)
                      a
                      J   days from the date the Settlement Administrator re-mails the Notice Packet.        If
                      4   these procedures are followed, notice to Class Members shall be deemed to have

                      5   been fully satisfied, and if the intended recipient of the Notice Packet does not

                      6   receive the Notice Packet, the intended recipient shall nevertheless remain a Class

                      7   Member and shall be bound by all terms of the Settlement and the Judgment.

                      8                       iii.   Determination of Individual Settlement Payments. The

                      9   Settlement Administrator shall determine the eligibility for, and the amounts of,

                 10       each Individual Settlement Payment under the terms of this Stipulation. Any Class

                 1l       Member who disputes the number of Qualifying Workweeks andlor the estimated

                 t2       Individual Settlement Payment shown on his/her Information Sheet may submit             a

                 13       written dispute to the Settlement Administrator no later than the Response

                 14       Deadline. Any such Class Member must also submit documentation relating to

                 15       his/her dispute. The Settlement Administrator shall notify Class Counsel and

                 t6       Defense Counsel of any such disputes no later than five (5) calendar days after

                 t7       receiving notice of the dispute. The Settlement Administrator shall confer with

                 18       Defense Counsel in an attempt to resolve the dispute. Defendant's records shall be

                 19       given the presumption of accuracy.

                 20                          iv.     Disputes Regarding Administration of Settlement Any

                 21       dispute not resolved by the Settlement Administrator concerning the administration

                 22       of the Settlement shall be resolved by the Court. Prior to any such involvement of

                 23       the Court, counsel for the Parties shall confer in good faith and make use of the

                 24       services of mediator Lisa Klerman,   if necessarÏ, to resolve the dispute without the
                 25       necessity of involving the Court.

                 26                    b.    Exclusions. The Class Notice shall explain that Class Members
                27        who wish to exclude themselves from the class and Settlement must submit       a

                28        Request for Exclusion to the Settlement Administrator by the Response Deadline.
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                     1     The Request for Exclusion must: (1) contain the name, address, and telephone

                     2     number of the person requesting exclusion; (2)be signed by the Class Member; and
                     a
                     J     (3) be postmarked by the Response Deadline and returned to the Settlement

                     4     Administrator at the specified address. Subject to review by Class Counsel,

                     5     Defense Counsel and the Court, the date of the postmark on the return mailing

                     6     envelope on the Request for Exclusion shall be the exclusive means used by the

                     7     Settlement Administrator to determine whether a Class Member has timely

                     8     requested exclusion from the class and Settlement. Any Class Member who timely

                     9     and properly requests to be excluded from the class and Settlement shall not be

                 l0        entitled to any benefits under the Settlement and shall not be bound by the terms        of
                 11        the Settlement nor shall the Class Member have any right to object to the

                 t2        Settlement or appeal from the entry of the Judgment. Class Members who do not

                 13        submit a valid and timely Request for Exclusion on or before the Response

                 t4        Deadline shall be bound by all terms of the Settlement and the Judgment entered in

                 l5        this Action if the Settlement is finally approved by the Court. No later than

                 16        seven (7) days after the Response Deadline, the Settlement Administrator shall

                 ll        provide counsel for the Parties a complete list of all Class Members who submitted

                 18        a   timely and valid Request for Exclusion. Defendant, at its sole discretion, shall
                 t9        then have the right, but not the obligation, to revoke the Settlement     if   more than ten

                20         percent (10%) of the Class Members timely exclude themselves. Defendant shall

                2t         exercise its revocation rights,   if at all, within ten (10) days of the Response
                22         Deadline by providing written notice to Class Counsel. At no time shall any of the

                ZJ         Parties, Class Counsel or Defense Counsel seek to solicit or otherwise encourage or

                24         discourage Class Members from submitting a Request for Exclusion in this Action

                25         or in the action entitled Akli Merzouki v. IHG Management Maryland LLC, et al.,

                26         Los Angeles Superior Court Case No. 8C685729 (the "Merzouki Action").

                27         Additionally, Plaintiff and Class Counsel agree not to opt out of the settlement in
                28         the Merzouki Action.
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                      1                    c.       Objections. The Class Notice shall state that Class Members
                      2    who wish to object to the Settlement must submit to the Settlement Administrator a
                      a
                      J    Notice of Objection by the Response Deadline. The Notice of Objection must              (l)
                      4    state the   full name,   address, telephone number and last four digits of the Class

                      5    Member's Social Security Number; (2) be signed by the Class Member; (3) state

                      6    the grounds for the objection; (4) state whether the Class Member intends to appear

                      7    at the Final Approval Hearing; and (5) be postmarked by the Response Deadline

                      8    and returned to the Settlement Administrator at the specified address. Subject to

                      9    review by Class Counsel, Defense Counsel and the Court, the date of the postmark

                  10       on the return mailing envelope on the Notice of Objection shall be the exclusive

                  11       means used by the Settlement Administrator to determine whether a Class Member

                  t2       has timely objected to the Settlement. Class Members who fail to timely make

                  t3       objections in the manner specified herein shall be deemed to have waived any

                  t4       objections and shall be foreclosed from making any objections (whether by appeal

                  15       or otherwise) to the Settlement, unless otherwise permitted by the Court. Class

                  t6       Members who submit a timely Notice of Objection have the right to appear at the

                  t7       Final Approval Hearing. A Class Member may not object to the Settlement and

                  t8       also submit a Request for Exclusion. At no time shall any of the Parties, Class

                  19       Counsel or Defense Counsel seek to solicit or otherwise encourage or discourage

                 20        Class Members from submitting a Notice of Objection or         filing an appeal from the
                 2t        Judgment in this Action or the Merzouki Action. Additionally, Plaintiff and Class

                 22        Counsel agree not to object to the preliminary or final approval of the settlement in

                 23        The   Merzouki Action.

                 24                       c.        Monitorine and Reviewine Settlement Administration. The
                 25        Parties have the right to monitor and review the administration of the Settlement to

                 26        verify that the monies allocated under the Settlement are distributed in a correct
                 27        amount, as provided for in this Stipulation.

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                      I                   d.     Best Efforts    The Parties agree to use their best efforts to carry

                      2      out the terms of this Settlement.
                      a
                      J            47.    Funding of Maximum Settlement Amount. No later than ten (10) days

                      4      after the Effective Date, Defendant shall provide to the Settlement Administrator, in

                      5      any feasible manner, including, but not limited to, by way of a wire transfer, the

                      6      Maximum Settlement Amount. In no event shall there be any distribution from the

                      7      Maximum Settlement Amount until after the Effective Date and all conditions

                      I      precedent specified in this Stipulation have been completely satisfied.    If this
                      9      Settlement is not finally approved by the Court in full, or is terminated, rescinded,

                    10       canceled or fails to become effective for any reason, or if the Effective Date does

                    11       not occur, then no Maximum Settlement Amount shall be paid.

                    t2                    a.     Individual Settlement Payments. Class Members shall not be
                    13       required to submit a claim in order to receive a share of the Net Settlement Amount,

                    t4       and no portion of the Maximum Settlement Amount shall revert to Defendant or

                    15       result in an unpaid residue. Individual Settlement Payments shall be paid by the

                    16       Settlement Administrator to all Class Members from the Net Settlement Amount

                    l7       pursuant to the formula set forth   herein. Individual Settlement Payments shall be
                    18       mailed by the Settlement Administrator by regular First Class U.S. Mail to each

                    l9       Class Member's last known mailing address within fourteen (14) days after

                   20        Defendant provides the Settlement Administrator with the Maximum Settlement

                   2t        Amount. Prior to mailing the Individual Settlement Payments, the Settlement
                   22        Administrator shall perform a search based on the National Change of Address

                   23        Database maintained by the United States Postal Service to update and correct any

                   24        known or identifiable address changes.

                   25                           i.     Each Class Member's Individual Settlement Payment

                   26        shall be calculated by the Settlement Administrator as follows: Defendant shall

                   27        provide the Settlement Administrator with the Compensable Workweeks for each

                   28        Participating Class Member. The Settlement Administrator shall then divide the
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                           I   Net Settlement Amount by the total number of Compensable Workweeks for all

                           2   Participating Class Members resulting in a value for each week worked by the

                           J   Participating Class Members during the Class Period ("'Workweek Value"). The

                           4   Settlement Administrator shall then multiply the number of Compensable

                           5   Workweeks for each Participating Class Member by the Workweek Value.

                           6                        ii.    Individual Settlement Payments shall be made by check
                           7   and shall be made payable to each Class Member as set forth in this Stipulation.

                           I                        iii.   Individual Settlement Payments shall be allocated            as

                           9   follows: one-third   as wages subject   to all applicable tax withholdings, one-third         as

                       l0      non-wage penalties not subject to payroll tax withholdings, and one-third non-wage

                       11      interest not subject to payroll tax withholdings. The Settlement Administrator shall

                       t2      issue an IRS Form W-2 to each Class Member for the portion of each Individual

                       13      Settlement Payment allocated as wages and subject to all applicable tax

                       t4      withholdings. The Settlement Administrator shall issue an IRS Form 1099 to each
                       15      Class Member for the portions of each Individual Settlement Payment allocated as

                       t6      non-wage penalties and interest and not subject to payroll tax withholdings.

                       t7                           iv.    Individual Settlement Payment checks shall remain
                       l8      negotiable for 180 days from the date of mailing.     If   an   Individual Settlement
                       19      Payment check remains uncashed after One Hundred Eighty ( 180) days from

                      20       issuance, the Settlement Administrator shall pay over the amount represented by the

                      2t       check, without the need to include interest, to the State Controller's Office

                      22       Unclaimed Property Fund, with the identity of the Class Member to whom the
                      -a
                      ¿J       funds belong. In such event, the Class Member shall nevertheless remain bound by

                      24       the Settlement.

                      25                            v.     All monies   received by Class Members under the

                      26       Settlement which are attributable to wages shall constitute income to such Class

                      27       Members solely in the year in which such monies actually are received by the Class

                      28       Members. It is expressly understood and agreed that the receipt of Individual
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                          I    Settlement Payments shall not entitle any Class Member to additional compensation

                          2    or benefits under any collective bargaining agreement or under any bonus, contest
                          a
                          J    or other compensation or benefit plan or agreement in place during the period

                          4    covered by the Settlement, nor shall it entitle any Class Member to any increased

                          5    pension andlor retirement, or other deferred compensation benefìts. It is the intent

                          6    of the Parties that Individual Settlement Payments provided for in this Stipulation

                          7    are the sole payments to be made by Defendant to Class Members in connection

                          8    with this Settlement, with the exception of Plaintiff and that Class Members are not
                          9    entitled to any new or additional compensation or benefits as a result of having

                     10        received the Individual Settlement Payments. Furthermore, the receipt         of
                     1l        Individual Settlement Payments by Class Members shall not, and does not, by itself
                     l2        establish any general, special, or joint employment relationship between and among

                     13        the Class Member(s) and Defendant.

                     l4                      b.      Class Reoresentative Service Awards      Subject to Court

                     15        approval, Plaintiff shall be paid a Class Representative Service Award not to exceed

                     l6        Five Thousand Dollars ($5,000.00), or any lesser amount as awarded by the Court,

                     I7        for her time and effort in bringing and presenting the Action and for releasing her
                     18        Released Claims. The Class Representative Service Award shall be paid to Plaintiff

                     t9        from the Maximum Settlement Amount no later than ten ( l0) days after Defendant

                    20         provides the Settlement Administrator with the Maximum Settlement Amount. The

                    2l         Settlement Administrator shall issue an IRS Form 1099 to Plaintiff for her Class

                    22         Representative Service Award. Plaintiff shall be solely and legally responsible to

                    23         pay any and all applicable taxes on her Class Representative Servibe Award and

                    24         shall hold harmless Defendant, Class Counsel and Defense Counsel from any claim

                    25         or liability for taxes, penalties, or interest arising as a result of payment of the Class

                    26         Representative Service Award. The Class Representative Service Award shall be

                    27         made in addition to   Plaintifls Individual Settlement Payment. Any amounts not
                    28         requested by Plaintiff or not awarded by the Court for the Class Representative
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                   I     Service Award shall become part of the Net Settlement Amount and shall be

                   2     distributed to Class Members as part of their Individual Settlement Payments.

                   J                  c.    Class Counsel Award. Subject to Court approval, Class Counsel

                   4     shall be entitled to receive reasonable attorneys' fees in an amount not to exceed

                   5     thirty-three percent (33%) of the Maximum Settlement Amount, which amounts to

                   6     One Hundred Sixty-Eight Thousand Three Hundred Dollars ($168,300.00). In

                   7     addition, subject to Court approval, Class Counsel shall be entitled to an award   of
                   8     reasonable costs associated with Class Counsel's prosecution of the Action in an

                   9     amount not to exceed Twenty-Two Thousand Dollars ($22,000.00). Class Counsel

                 10      shall provide the Settlement Administrator with a properly completed and signed

                 11      IRS Form W-9 in order for the Settlement Administrator to process the Class

                 T2      Counsel Award approved by the Court. Defendant shall not oppose or object to

                 l3      Plaintifß' request for an award of attorneys' fees in an amount not to exceed One
                 t4      Hundred Sixty-Eight Thousand Three Hundred Dollars ($168,300.00) and request

                 15      for an award of reasonable costs not to exceed Twenty-Two Thousand Dollars

                 t6      ($22,000.00). In the event the Court awards Class Counsel less than One Hundred

                 t7      Sixty-Eight Thousand Three Hundred Dollars ($168,300.00) in attorneys' fees

                 l8      andlor less than Twenty-Two Thousand Dollars ($22,000.00) in costs, the

                 t9      difference shall become part of the Net Settlement Amount and shall be distributed

                 20      to Participating Class Members as part of their Individual Settlement Payments.

                 2t      Class Counsel shall be paid any Court-awarded attorneys' fees and costs no later

                 22      than ten (10) days after Defendant provides the Settlement Administrator with the

                 23      Maximum Settlement Amount. Class Counsel shall be solely and legally

                24       responsible to pay all applicable taxes on the Class Counsel Award. The Settlement

                25       Administrator shall issue an IRS Form 1099 to Class Counsel for the Class Counsel

                26       Award. This Settlement is not conditioned upon the Court awarding Class Counsel
                27       any particular amount of attorneys' fees or costs, unless the amount awarded is

                28       more than specified in this paragraph.
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                       1                  d.     PAGA Payment to the LWDA. Twenty-Five Thousand Dollars

                       2     ($25,000.00) from the Maximum Settlement Amount shall be allocated as penalties
                       a
                       J     under PAGA, of which Eighteen Thousand Seven Hundred Fifty Dollars

                       4     ($18,750.00) shall be paid by the Settlement Administrator directly to the LWDA.

                       5     The remaining Six Thousand Two Hundred Fifty Dollars ($6,250.00) shall be part

                       6     of the Net Settlement Amount and shall be distributed to Participating Class

                       7     Members as part of their Individual Settlement Payments.

                       8                  e.     Settlement Administration Costs. The Settlement

                       9     Administration Costs, which are estimated not to exceed Ten Thousand Dollars

                     l0      ($10,000.00), shall be paid from the Maximum Settlement Amount. Prior to

                     11      Plaintiff filing a motion for final approval of the Settlement, the Settlement
                     t2      Administrator shall provide the Parties with a statement detailing the Settlement

                     13      Administration Costs to date. The Parties agree to cooperate in the Settlement

                     t4      Administration process and to make all reasonable efforts to control and minimize

                     15      Settlement Administration Costs.

                    16                           i.      The Settlement Administrator shall be authorizedto

                    t7       establish a QSF pursuant to IRS rules and regulations in which the Maximum

                    18       Settlement Amount shall be placed and from which payments required by the

                    t9       Settlement shall be made.

                    20                           ii.     The Settlement Administrator shall keep the Parties

                    21       timely apprised of the performance of all Settlement Administrator responsibilities
                    22       required by the Settlement.

                    23                           iii.    The Parties each represent they do not have any financial

                    24       interest in the Settlement Administrator or otherwise have a relationship with the

                    25       Settlement Administrator that could create a conflict of interest.

                    26                    f.    Employer's Share of Payroll Taxes. The Settlement

                    27       Administrator shall calculate the amount of the Employer's Share of Payroll Taxes

                    28       and shall remit and report the applicable portions of the payroll tax payment to the
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                     I     appropriate taxing authorities in a timely manner. The Employer's Share of Payroll

                     2     Taxes shall be paid by Defendant in addition to the Maximum Settlement Amount.

                     J            48.    Final Settlement Approval Hearing and Entry of Judsment. Upon
                     4     expiration of the Response Deadline,    a   Final Approval Hearing shall be conducted
                     5     to determine whether to grant final approval of the Settlement, including

                     6     determining the amounts properly payable for: (i) the Class Counsel Award; (ii) the

                    7      Class Representative Service Award; and          (iii) the PAGA payment to the LWDA.
                     8     Prior to the Final Approval Hearing, the Settlement Administrator shall provide         a

                    9      written report or declaration to the Parties describing the process and results of the

                   l0      administration of the Settlement to date, which report or declaration shall be filed

                   11      by Plaintiff with the Court prior to the Final Approval Hearing. Class Counsel shall

                   t2      be responsible for drafting and   filing the Motion for Final Approval, and     agrees to

                   13      submit a draft of the Motion to Defense Counsel for review and input prior to filing.

                   t4             49.   Nullification of Settlement. In the event: (i) the Court does not enter
                   15      the Preliminary Approval Order; (ii) the Court does not grant final approval the

                   t6      Settlement; (iii) the Court does not enter the Judgment; or (iv) the Settlement does

                   t7      not become final for any other reason, this Stipulation shall be rendered null and

                  l8       void, any order or judgment entered by the Court in furtherance of this Settlement

                  t9       shall be treated as void from the beginning, this Stipulation and any documents

                  20       related to it shall not have any force and effect andlor be admissible, offered into

                  2t       evidence or used in any other manner in this Action by any Class Member or Class

                  22       Counsel to support any claim or request for class certif,rcation in the Action and

                  z5       shall not be used in any other civil, criminal or administrative action against

                  24       Defendant or any of the other Released Parties, and the Stipulation and all

                  25       negotiations, statements and proceedings relating thereto shall be without prejudice

                  26       to the rights of any of the Parties, all of whom shall be restored to their respective

                  27       positions in the Action prior to the settlement. In addition, Defendant shall retain

                  28       all its rights to object to the maintenance of the Action as a class or representative
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                                 1   action, and nothing in this Stipulation or other papers or proceedings related to the

                                 2   Settlement shall be used as evidence or argument by any Party concerning whether
                                 a
                                 J   the Action may properly be maintained as a class or representative action. In the

                                 4   event an appeal is filed from the Judgment, or any other appellate review is sought,

                                 5   administration of the Settlement shall be stayed pending final resolution of the

                                 6   appeal or other appellate review.   If the Settlement   does not become final because

                                 7   of an appeal or other appellate review, any fees incurred by the Settlement

                                 I   Administrator prior to it being notified of the filing of an appeal from the Judgment,

                                 9   or any other appellate review, shall be paid by borne equally by the Parties.

                             l0             50.   No Admission b)¡ Defendant. Defendant denies all claims alleged in

                             11      the Action and deny all wrongdoing whatsoever by Defendant. Neither this

                             t2      Stipulation, nor any of its terms and conditions, nor any of the negotiations

                             t3      connected with it, is a concession or admission, and none shall be used against

                             t4      Defendant as an admission or indication with respect to any claim of any fault,

                             l5      concession, or omission by Defendant,that class certification is proper under the

                             16      standard applied to contested certification motions, or that the pursuit of a

                             l7      representative action is proper under the governing legal standards. The Parties

                             18      stipulate and agree to the certification of the proposed class for settlement purposes

                             t9      only. The Parties further agree that this Stipulation will not be admissible in this or
                            20       any other proceeding as evidence that (i) a class action should be certifìed, (ii) a

                            2t       representative action is appropriate or manageable, or (iii) Defendant is liable to

                            22       Plaintiff or any Class Member, other than according to the terms of this Stipulation.
                            23             51.    Confidentialit)¡. The Parties, Class Counsel, and Defense Counsel
                            24       agree to keep the terms of the Settlement confidential until the motion    for
                            25       preliminary approval is filed.

                            26             52.    No Publicitv. Plaintiff and Class Counsel agree not to contact the

                            27       media about the Settlement or respond to inquiries by the media regarding the

                            28       Settlement, other than to state that the Action was amicably settled and the Court
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                        1     did not find Defendant liable. Plaintiff and Class Counsel also agree not to post any
                        2     information about the Settlement on social media or the frrm's website.
                        a
                        J            53.   Exhibits and Headings. The terms of this Stipulation include the terms

                        4     set forth in any attached Exhibits, which are incorporated by this reference as

                        5     though fully set forth herein. The Exhibits to this Stipulation are an integral part      of
                        6     the Settlement. The descriptive headings of any paragraphs or sections of this

                        7     Stipulation are inserted for convenience of reference only.

                        8            54.   Interim Stay of Action. The Parties agree to stay and to request that
                        9     the Court stay all proceedings in the Action, except such proceedings necessary to

                     10       implement and complete the Settlement and enter the Judgment.

                     l1              55.   Amendment or Modification. This Stipulation may be amended or

                     t2       modified only by   a   written instrument signed by counsel for all Parties or their

                     l3       successors-in-interest.

                     t4              56.   Entire Agreement. This Stipulation and any attached Exhibits

                     15       constitute the entire agreement between the Parties, and no oral or written

                     16       representations, warranties, or inducements have been made to Plaintiff or

                     t7       Defendant concerning this Stipulation or its Exhibits other than the representations,

                     18       warranties, and covenants contained and memorialized in this Stipulation and its

                     t9       Exhibits. No other prior or contemporaneous written or oral agreements may be
                     20       deemed binding on the Parties.

                     21             57.    Authorization to Enter Into Settlement Asreement. Class Counsel and

                    22        Defense Counsel warrant and represent they are expressly authorizedby the Parties

                    23        whom they represent to negotiate this Stipulation and to take all appropriate actions

                    24        required or permitted to be taken by such Parties pursuant to this Stipulation to

                    25        effectuate its terms, and to execute any other documents required to effectuate the

                    26        terms of this Stipulation. The Parties, Class Counsel and Defense Counsel shall

                    27        cooperate with each other and use their best efforts to effect the implementation       of
                    28        the Settlement. In the event the Parties are unable to reach agreement on the form
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                     I     or content of any document needed to implement the Settlement, or on any

                    2      supplemental provisions that may become necessary to effectuate the terms of this

                    J      Settlement, the Parties may seek the assistance of the Court and/or mediator Lisa

                    4      Klerman to resolve such disagreement. The person signing this Stipulation on

                    5      behalf of Defendant represents and warrants that he/she is authorized to sign this

                    6      Stipulation on behalf of Defendant. Plaintiff represents and warrants that she is

                    7      authorized to sign this Stipulation.

                    8             58.      No Prior Assignments. The Parties and their counsel represent,

                    9      covenant, and warrant that they have not directly or indirectly assigned, transferred,

                  l0       encumbered, or purported to assign, transfer, or encumber to any person or entity

                  11       any portion of any liability, claim, demand, action, cause of action or right herein

                  12       released and discharged.

                  t3              59.      Binding on Successors and Assigns. This Stipulation shall be binding

                  t4       upon, and inure to the benefit     ol   the successors and assigns of the Parties.

                  15              60.      California Law Governs. All terms of this Sti pulation and the Exhibits

                  16       hereto shall be governed by and interpreted according to the laws of the State            of
                  t7       California, without giving effect to any law that would cause the laws of any

                  l8       jurisdiction other than the State of California to be applied.

                  t9              61.      Counterparts. This Stipulation is subject only to the execution of all

                  20       Parties. The Stipulation may be executed in one or more counterparts. All

                  2t       executed counterparts and each of them, including facsimile and scanned copies                 of
                  22       the signature pages,   will   be deemed to be one and the same instrument provided

                  23       that counsel for the Parties    will   exchange among themselves original signed

                  24       counterparts.

                  25              62.      This Settlement is Fair. Adequate and Reasonable. The Parties believe

                  26       the Settlement is afair, adequate, and reasonable settlement of the Action and have

                  27       arrived at the Settlement after arm's-length negotiations and in the context         of
                  28       adversarial litigation, taking into account all relevant factors, present and potential.
N'IATERN LAW CROUP, PC
      I23O ROSECRANS                                                                        STIPULATION OF CLASS AC'IION
                                                                         24
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            90266
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                    1   The Parties further acknowledge that they are each represented by competent
                 2      counsel and they have had an opportunity to consult with their counsel regarding
                 3      the fairness and reasonableness of this Settlement
                 4               63.   Jurisdiction of the Court. Following entry of the Judgment, the Court
                 5      shall retain jurisdiction with respect to the interpretation, implementation, and
                 6      enforcement of the terms of this Stipulation and all orders and judgments entered in
                 7      connection therewith, and the Parties, Class Counsel and Defense Counsel submit
                 8      to the jurisdiction of the Court for purposes of interpreting, implementing, and
                 9      enforcing the Settlement embodied in this Stipulation and all orders and judgments
                10      entered in connection therewith.
                11               64.   Invalidity of Any Provision. Before declaring any term or provision of
                12      this Stipulation invalid, the Parties request that the Court first attempt to construe
                13      the terms or provisions valid to the fullest extent possible consistent with applicable
                14      precedents so as to define all provisions of this Stipulation as valid and enforceable.
                15               65.   Binding Nature of Class Notice. It is agreed that because the Class
                16      Members are so numerous, it is impossible or impracticable to have each Class
               17       Member execute the Stipulation. The Class Notice shall advise all Class Members
                18      of the binding nature of the Settlement, and the release of Released Claims and
               19       shall have the same force and effect as if this Stipulation were executed by each
               20       Class Member.
               21
               22
                        Dated:                     , 2019
               23                                               Plaintiff Estela Cervantes
               24
               25
                        Dated:     /WA             ,2019
               26                                               Defendant IHG Management (Maryland)
               27                                               LLC
                                                                By: C*!} 0*0
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MATBKN LAW GROUP. PC
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                       2    Approved       as   to form and content:
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                       4    Dated                            2OI9      MATERN LAW GROUP, PC
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                       6
                                                                       By
                       7
                                                                            MATTHEW J.         TERN
                       8                                                    LALINA ADOLPH
                                                                            KAYVON SABOUzuAN
                       9
                                                                            Attorneys for Plaintiff Dina Rae
                   10                                                       Richardson
                   l1
                   12       DATED                            2OI9      SEYFARTH SHAW LLP
                   13

                   14                                                  By
                   l5                                                       MICHAEL J. BURNS
                                                                            ERIC HILL
                   16                                                       Attorneys for Defendant
                   t7                                                       IHG MANAGEMENT (MARYLAND)
                                                                            LLC
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IlIATERN LAW CROUP,    PC
   1230 ROSECRANS                                                                         STIPULA'IION OF CLASS ACTION
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                 1
                 2     Approved as to form and content:
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                 4     Dated:                  , 2019     MATERN LAW GROUP, PC
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                 6
                                                          By:
                 7
                                                                MATTHEW J. MATERN
                 8                                              LAUNA ADOLPH
                                                                KAYVON SABOURIAN
                 9
                                                                Attorneys for Plaintiff Dina Rae
               10                                               Richardson
               11
               12      DATED:         /Vd 22   ,2019      SEYFARTH SHAW LLP
               13
               14                                         By:
                                                                MICHAEL J. BURNS
               15
                                                                ERIC HILL
               16                                               Attorneys for Defendant
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                                                                IHG MANAGEMENT (MARYLAND)
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                              EXHIBIT        1
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                           NOTICE OF CLASS ACTION SETTLEMENT
                             Cervantes v. IHG Management (Maryland) LLC
 United States District Court for the Central District of California, Case No. 2:18-cv-10005-RGK-MAA

      A court authorized this Notice. This is not a solicitation by a lawyer. You are not being sued.

IF YOU WORKED FOR IHG MANAGEMENT (MARYLAND) LLC AS A     NON-EXEMPT
EMPLOYBE AT THE CROWNE PLAZA REDONDO BEACH AND MARINA HOTEL AT
ANY TIME FROM SEPTEMBER 28, 2014 TO [EARLIER OF MAy 27, 2019 OR
PRELIMINARY APPROVAL DATE], THIS CLASS ACTION SETTLEMENT MAY AFFECT
YOUR RIGHTS.

PLEASE READ THIS NOTICE CAREF'ULLY.



A  proposed settlement (the "Settlement") has been reached in a class action lawsuit entitled Estela
Cervantes v. IHG Management (Maryland) LLC, United States District Court for the Central District of
California, Case No. 2:18-cv-10005-RGK-MAA (the "Action"). The purpose of this Notice of Class
Action Settlement ("Notice") is to briefly describe the Action, and to inform you of your rights and
options in connection with the proposed Settlement. The proposed Settlement will resolve all claims
against defendant IHG Management (Maryland) LLC ("IHG") in the Action.

AS A CLASS MEMBER, YOU ARE ELIGIBLE TO RECEIVE AN INDIVIDUAL SETTLEMENT
PAYMENT UNDER THE SETTLEMENT AND WILL BE BOUND BY THE RELEASE OF CLAIMS
DESCRIBED IN THIS NOTICE AND THE SETTLEMENT AGREEMENT FILED WITH THE
COURT, UNLESS YOU TIMELY REQUEST TO BE EXCLUDED FROM THE SETTLEMENT.




                                    If you do nothing, you will  be considered part of the Class and will
  Do NorurNc AND Recuvp n           receive an Individual Settlement Payment. You will also give r-rp
  SrrrlnvrnNT    PAYMENT            the right to pursue a separate legal action against IHG and affiliated
                                    persons and entities.

                                    If yoLr request to be excluded, you will not receive any paymerìt
  ExcluoB YounsElp       FRoM
                                    under the Settlement, and you will not release any claims against
  THE SETTLEMENT
                                    IHG.

                                   To object to the Settlement, yon must submit a written statement
  On.¡ncr ro rHE                   explaining why yor,r object to the Settlement or explain your
  Snrrlorr.rpNr                    objections in person at the Settlement Hearing. This option is
                                   available only if you do not exclude yourself from the Settlernent

tltho is affected by the proposed Settlement?

The Court in charge of this case is the United States District Court forthe Central District of California.
The Court has certified, for settlement purposes only, the following class (the "Class"):

Allpersons employed by IHG as non-exempt employees at the Crowne Plaza Redondo Beach and
Marina hotel in Redondo Beach, California, at any time from September 28,2014 through [earlier of
May 27 ,2019 or date of preliminary approval] (the "Class Period").

According to II-IG's records, you are a member of the Class ("Class Member"). In a class action, one or
rnore people called Class Representatives or Representative Plaintifß make allegations on behalf of
Case 2:18-cv-10005-RGK-MAA Document 24-2 Filed 03/25/19 Page 32 of 37 Page ID
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other people who they allege have similar claims. All these people comprise a Class and are referred to
as Class Members, except those who decide to exclude themselves from the Class. One court resolves
the issues for all Class Members.

Whnt ís th

In the Action, plaintiff Estela Cervantes ("Plaintiff') alleges on behalf of herself and the Class the
following claims against IHG: (1) failure to provide meal periods; (2) failure to authorize and permit rest
periods; (3) failure to pay minimum wages; (4) failure to pay overtime wages; (5) failure to pay all
wages due to discharged and quitting employees; (6) failure to maintain required records; (7) failure to
furnish accurate itemized wage statements; (8) failure to indemnify employees for necessary
expenditures incurred in discharge of duties; (9) unfair and unlawful business practices; and (10)
penalties under the Labor Code Private Attorneys General Action ("PAGA"). In the Action, Plaintiff
seeks unpaid wages, statutory and civil penalties, restitution, interest, attorneys' fees, and costs.

The Court has not made any determination of the validity of the claims in the Action. IHG vigorously
denies the claims in the Action and contends that it fully cornplied with all applicable laws.

The Parties disagree on the probable outcome of the case with respect to liability and damages. This
Settlement is a compromise reached after ann's length negotiations between Plaintiff and IHG (the
"Parties"), through their attorneys and while using the services of an experienced and neutral mediator.
The Settlement is not an admission of liability on the part of IHG. Both sides agree that in light of the
risks and expenses associated with continued litigation, this Settlement is fair, adequate and reasonable.
Plaintiff and Class Counsel believe the Settlement is in the best interests of all Class Members.

,Who are the

The attorneys in the Action are:

Class Counsel                                         Defense Counsel
Matthew J. Matern                                     Michael .1. Burns
Launa Adolph                                          Eric l-lill
I(ayvon Sabourian                                     SEYFARTH SFIAW [,1,P
MAT.ITRN LAW GROUP, PC                                560 Mission Street,3lst Floor
1230 Rosecrans Ave., SLrite 200                       San Francisco, Calil'ornia 94105
Manlrattan Beach, California 90266                    415-397-2823
310-531-1900

As a Class Member, you are being represented at no cost by Class Counsel

ll/hul are ihe Sclilentent terms?
If   the Court grants final approval of the Settlement, II-IG    will   pay   $5 10,000.00   (the "Maxirnum
Settlement Amount") for: (a) Individual Settlement Payrnents to Class Members; (b) the CoLrrt-approved
attorneys' lèes and costs to Class Counsel; (c) the Coufi-approved Class Rcpresentative Service Award
to Plaintiff; (d) the costs of administering the Settlement; and (e) a payment to the Calif-ornia Labor and
Workforce Development Agency ("LWDA") for its share of the nroney allocated to resolve clainrs
pursuant to PAGA.

Individual Settlement Payments. After deduction from the Maxinrunr Settlelnent Amount for Class
Counsel's attorneys'fees and costs, the Class Representative Service Award to Plaintifl, the costs of
aclministering the Settlement, and the payment to the LWDA, there will be a Net Settlement Amount.
Froln this Net Settlement Amount, each Class Member who does not recluest to be exclLlded fi'om the
Settlement ("Participating Class Mernber") will receive an Individual Settlernerlt Payment.


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                                   QUESI'IONS'/ CAr.r, r -XXX-XXX-XXXX
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The Net Settlement Amount will be divided among all Participating Class Members based on the
number of Compensable Workweeks each Participating Class Member worked for IHG as a non-exempt
ernployee during the Class Period. Your total number of Compensable V/orkweeks, according to IHG's
records, and your estimated Individual Settlement Payment are listed on the Information Sheet enclosed
in this Notice Packet.

The settlement checks will be valid for 180 days from the date of mailing. After 180 days, the
Settlement Administrator will void any uncashed checks and pay over the amount represented by the
checkto the State Controller's Office Unclaimed Properly Fund, with the identity of the Class Member
to whom the funds belong.

For tax repofting purposes, the Individual Settlement Payments will be allocated one-third (l/3) as
wages and two-thirds (2/3) as non-wage penalties and interest. The wage portion will be subject to
required state and federal withholdings and will be reported on an IRS Form W-2. The non-wage
porlion will be reported on an IRS Form 1099, with no withholdings taken.

None of the Parties or their attorneys make any representations concerning the tax consequences of this
Settlement or your participation in it. Class Members should consult with their own tax advisors
concerning the tax consequences of the Settlement. Class Counsel is unable to offer advice concerning
the state or federaltax consequences of payments to any Participating Class Member.

Attornev's Fees and Costs, Class Representative Service Award, Settlement Administration Costs.
and Pavment to the LWDA. Plaintiff will ask the Couft to award Class Counsel attorney's fees in an
amount not to exceed $168,300.00 (33% of the Maximum Settlement Amount) and reimbursement of
reasonable costs incurred in the Action in an arnount not to exceed $22,000.00. Plaintiff also will ask
the Court to authorize a Class Representative Service Award payment of up to $5,000.00 to Plaintiff for
her efforts in the Action. The Parties estimate the costs of administering the Settlement will not exceed
$10,000.00. In addition, $25,000.00 will be allocated to penalties under PAGA, of which 75Vo, or
S18,750.00, will be paid to the LWDA, and the remaining 25o/o, or $6,250.00, will be part of the Net
Settlement Amount and will be distributed to Participating Class Members. Any amounts not requested
or awarded by the Court will be included in the Net Settlement Amount and will be distributed to the
Class Members as set forth above.

lYhctt claims are heing releosed by the proposed Settlement?

Upon the Settlement becorning final, each Class Mernber shall be deerned to have filly, finally, and
forever released the Released Parties fiom all Released Claims. "Released Claims" means all claims,
debts, demands, rights, liabilities, costs, damages, attorneys' fees, actions. and/or causes of action that
were pleaded or could have been pleaded based upon the fàctLral allegations set fbrth in the operative
Cornplaint fìled in this Action and arising af any tirne during the Class Period, including clairns for (l)
failure to provide meal periods; (2) failure to authorize and perrnit rest periods; (3) failure to pay
minimum wages; (4) failure to pay overtime wages; (5) failLrre to pay all wages due to discharged and
quitting employees; (6) failure to nraintain required records; (7) failure to lurnish accurate itenrized
wage statements; (8) failure to indemnify employees for necessary expenditures incurred in discharge of
dr-rties; (9) unfair and unlawful business practices under the California Business & Professions Code
(including Section 17200. et .set1.); and (10) penalties pursuant to PAGA, and any clairns for other
equitable relief, liquidated damages, punitive damages, or penalties. The "Released Parties" are (i) II-IG;
(ii) its past, present and firture subsidiaries, parents, affiliated and related companies, divisions,
successors, predecessors or assigns; and (iii) tlie past, present, and future officers, directors,
shareholders, panners, agents, insurers, ernployees, advisors, accountants, representatives, trustees,
heirs, executors, administrators, predecessors, successors or assigns of any of the foregoing.




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                                QTJESTIONS?    CALL I -XXX-XXX-XXXX
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lVhut are my rights us o C4itss Member?

As a class mernber, you may   (A) remain in the Class and receive an IndividLral Settlement Payment; or
(B) exclude yourself from the Class and Settlement. If you choose option (A), yoLr may also object to
the Settlement, as explained below.

OPTION    A. Remain in the Class and Receive a Settlement Payment. If you wish to remain in the
Class and be eligible to receive an Individual Settlement Payment, you do not need to take any action. If
the Court grants final approval of the Settlement, you automatically will receive an Individual
Settlement Payment and will be bound by the release of the Released Claims as described above.

9biectine to the Settleryent:. If you believe the proposed Settlernent is not fair, reasonable or adequate
in any way, you may also object to it. To object, you may subniit a written brief or statement of
objection ("Notice of Objection") to the Settlement Administrator at the following address:

                                Cervantes v. IHG Management Settlement
                                                P.O. Box
                                            [City], tstatel   pþl
The Notice of Objection must: (l) state your full name; (2) be signed by you; (3) state the grounds for
yor,rr objection; (4) state whether you intend to appear at the Final Approval Hearing; and (5) must be
postmarked on or bel'ore [Response Deadline] and mailed to the Settlement Administrator at the address
listed above. You also can hire an attorney at your own expense to represent yor"r in your objection or
you may object yoLrrself without an attorney. Class Counsel, however, will not represent you for
purposes of objecting to the Settlement. Even if you submit an objection, you will be bound by the
terms of the Settlement, including the release of Released Claims as set forth above, unless the
Settlement is not finally approved by the Court.

OPTION B. If You Do Not Want To Be Part Of The Class And Be Bound By The Settlement. lf
you do not want to be part of the Settlement, you must subr¡it a written request to be excluded ("Request
for Exclusion") to the Settlement Adnlinistrator at the following address. postniarl<ed on or before
[Response Deadline]:
                                Cìervantes v.   IHC Management Settlerrent
                                                P.O. Box
                                            ICityl. lStatel tZipl
In order to be valid, your Recluest fbr Exclr-rsion must (l) state your firll nanle, address, and teleplrone
number ancl the Iast lòur cligits of yoLrr Social SecLrrity Number (f'or identilìcation plrrposes only); (2)
contain a clear statement that you are requesting to opt out of,, or be excludecl from. the Settlelnent in
('ervanle,s v. IHG Munugcment: and (3) be signed by you. lf you do not submit a tirrely and valid
Request f-or ExclLrsion, yoLr will be bound by the release of Released Claims as described above ancl all
other tenrs ol'the Settlernent. lf you timely sLrblnit a valid ReqLrest f'or ExclLrsion, you will have no
I'urther role in tlre Action, and you will not be entitled to any benefit as a result of the Settlement. You
cannot object to the Settlement if you submit a Request for Exclusion.

lVhat is the next step in lhe u¡tprovol of the SeltlemenÍ?
'fhe CoLlrl will hold a hearing regarding the fàirness, reasonableness ancJ adequacy o1'the proposed
Seitlemení, ilie plan oí- disiribuiion, ancl Plainiill's requesi Íòr attorneys' iees and costs ancl a Class
RepresentativeServiceAwardoll-,20l9atX:XXx.m.inCourtroonrB50oftheRoybal
Federal Building and CoLrrthouse. located a|255 East Temple Street. Los Angeles, Calif'ornia 90012,
before the FIon. R. Gary Klausner. The Final Approval l-learing may be postponed withoLrt fìrrthcr
notice to Class Members. You are not recluired to attend the hearing to receive an lndividual Settlernent
Payment.


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                                 QLJITST'IONS? C'A Ll. I -X   XX-XXX-XXXX
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This Notice summarizes the Action and the basic terms of the Settlement. More details are in the
Settlement Agreement, which may be reviewed at the office of the Clerk of Court located at 350 West
 lst Street, Los Angeles, California 90012, during regular business hours, or online by accessing the
Court's Public Access to Court Electronic Records (PACER) system at https://ecf.cand.uscourts.gov.
You also can request a copy of the Settlement Agreement from Class Counsel at the address and
telephone number listed above. If you have questions regarding the Settlement, you may also contact
the Settlement Administrator at I -XXX-XXX-XXXX.

      PLEASE DO NOT CONTACT THE COURT REGARDING THIS NOTICE OR THE
                                          SETTLEMENT'
ss7z424av.1




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                              QUESTTONS?    CALL r -XXX-XXX-XXXX
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                             EXHIBTT         2
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                                          INFORMATION SHEET
                                 Cervantes v. IHG Management (Maryland) LLC
     Unitcd States District Court for the Central District of California, Case No. 2:18-cv-10005-RGK-MAA

Calculafion of Individual Settlement Pav ments: Each Class Member's share of the Net Settlement
Amount will be based upon his or her "Compensable Workweeks," or the total number of weeks each Class
Member perfonned work for IHG Management (Maryland) LLC ("lHG") at the Crowne Plaza Redondo
Beach and Marina hotel in Redondo Beach, California at any time from September 28,2014 to [earlier of
May 27,2019 or preliminary approval date] (the "Class Period").

Your Compensable Workrveeks and Estimated Individual Settlement Pavment: According to IHG's
records, you worked <<CompWorkweeks>> Compensable Workweeks. Based on the number of
Compensable Workweeks, your estimated Individual Settlement Payment is <<EstSettPayment>>.
Please note that this is only an estimate; your actual payrnent may be greater or smaller than the amount
reported above.

Procedure for Disputing Information: If you disagree with the number of Compensable V/orkweeks
stated above, you must send a Ietter to the Settlement Administrator stating the reasons why you dispute the
number of Compensable Workweeks and provide any supporting documentation that you have (for example,
any paystubs). The information you provide should include the estimated number of weeks you claim you
worked for IHG as a non-exempt ernployee at the Crowne Plaza Redondo Beach and Marina hotel from
September 28, 2014 to fearlier of May 27 , 2019 or preliminary approval date].

Any dispLrtes and sLrpporting documentation must be mailed to the Settlement Administrator at the address
listed below by First Class U.S. Mail, postmarked no later than           2019.


                                  Cervantes v. IHG Management Settlement
                                                   [Address]
                                               [City, State Zip]


If   yoLr dispLrte tlre nunrber   of Compensable Workweel<s stated above, IFIG's records will be presumed
detenninative unless you are able to provide credible and verifiable documentation to the Settlement
Administrator that establislres otlrerwise. Failure to provide documentary evidence in supporl of your
dispr,rte will render yor-rr dispLrte invalid. The Settlement Administrator will evaluate the evidence submitted
by you and will nrake the final decision as to the number of Compensable Workweeks that should be applied
and/or the Individual Settlement Payment to which you may be entitled.




                                                                                               lnfonnation Sheet
                                                                                                [Class Mernber]
